
PER CURIAM:
Claimant, County Commission of Mineral County, provides and maintains a facility for the incarceration of prisoners who have committed crimes in Mineral County. Some of the prisoners held in the facility are guilty of crimes which require the sentencing of prisoners to facilities provided and maintained by the respondent, Division of Corrections. Claimant brought this action to recover medical payments and the costs of housing for prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the county, these prisoners have had to remain in the county prison facility for periods of time beyond the date of the sentencing order.
The Court previously determined in an opinion issued November 21, 1990, that a daily rate of $15.00 for each inmate is fair and reasonable to both claimant and respondent at this time, and directed the parties to calculate a dollar amount based upon the time frame and daily inmate rates of $15.00 excluding, however, all days wherein inmates remained in the county as a result of county officials and a two week holding period beyond the date of a commitment order.
Pursuant to the opinion, the parties filed a stipulation based upon 2,638 inmate days of $15.00 per day which equals $39,570.00.
*94In view of the foregoing, the Court makes an award to claimant in the amount of $39,570.00.
Award of $39,570.00.
